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10
   Attorneys for Plaintiff,
11 Sergio Garibay
12
13                             UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                  LOS ANGELES DIVISION
16
     Sergio Garibay,                           Case No.: 2:18-cv-10684-FMO-E
17
                       Plaintiff,              NOTICE OF VOLUNTARY
18
                                               DISMISSAL
19         vs.
20
     Westlake Financial,
21
22                     Defendant.
23
24
25
26
27
28
     2:18-cv-10684-FMO-E                               NOTICE OF VOLUNTARY DISMISSAL
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 1               NOTICE OF WITHDRAWAL OF COMPLAINT AND
 2             VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)
 3
 4
                   Sergio Garibay (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws
 5
     the complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed.
 6
     R. Civ. P. 41(a)(1)(A)(i).
 7
 8                                               By: /s/ Trinette G. Kent
 9                                               Trinette G. Kent, Esq.
                                                 Lemberg Law, LLC
10                                               Attorney for Plaintiff, Sergio Garibay
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     2:18-cv-10684-FMO-E                                      NOTICE OF VOLUNTARY DISMISSAL
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 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On April 9, 2019, I served a true copy of
 5 foregoing document(s): NOTICE OF VOLUNTARY DISMISSAL.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Westlake
 8 certify that on April 9, 2019, a copy of the Financial
   foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
            I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27          Executed on April 9, 2019.
28
                                                 3
     2:18-cv-10684-FMO-E                                      NOTICE OF VOLUNTARY DISMISSAL
Case 2:18-cv-10684-FMO-E Document 16 Filed 04/09/19 Page 4 of 4 Page ID #:33



 1
 2                                        By: /s/ Trinette G. Kent
                                          Trinette G. Kent, Esq.
 3                                        Lemberg Law, LLC
 4                                        Attorney for Plaintiff, Sergio Garibay

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     2:18-cv-10684-FMO-E                               NOTICE OF VOLUNTARY DISMISSAL
